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 1
                                UNITED STATES DISTRICT COURT
 2                            NORTHERN DISTRICT OF CALIFORNIA
 3   THERESA SWEET, CHENELLE                              Case No.: 19-cv-03674-WHA
     ARCHIBALD, DANIEL DEEGAN, SAMUEL
 4
     HOOD, TRESA APODACA, ALICIA DAVIS,
 5   and JESSICA JACOBSON on behalf of
     themselves and all others similarly situated,
 6
                     Plaintiffs
 7
            V.                                            AFFIDAVIT OF DANIEL DEEGAN
 8
 9   ELISABETH DEVOS, in her official
     capacity as Secretary of the United States
10   Department of Education,
11   And
12
     THE UNITED STATES DEPARTMENT OF
13   EDUCATION,

14                   Defendants.
15
16          I, Daniel Deegan, state as follows:
17           1.     I am submitting this affidavit in relation to the above-captioned case.
18          2.      I borrowed federal student loans in order to attend Devry University's Keller
19   Graduate School of Management.
20          3.      On November 1, 2016, I submitted a borrower defense application to the United
21   States Department of Education, asking for these loans to be cancelled. A copy of that
22   application is attached as Exhibit A.
23          4.      On May 7, 2020, I received correspondence from the Department of Education,
24   stating that my claim had been denied. A copy of that correspondence is attached as Exhibit B.
25          5.      In between the time that I first submitted an application for loan cancellation and
26   when I received the notification of denial, my federal student loans have been in forbearance.
27
28
                                                      1
                                                                                              AFFIDAVIT
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           Exhibit A
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They also claimed I would be assisted by their career services department upon graduation,
which never happened despite my efforts to get in touch with them (Their career services
department is included in the FTC complaint). On numerous occasions I called their career
services department for help, got a voicemail message, left a message and never heard anything
back. Obviously I have no way to prove this, but the fact that it's included in the FTC complaint
it must mean that it is a widespread issue. They maintain in the complaint that their employment
statistics came from data their career services department obtained while communicating with
students. I never once received a call from them to even obtain any information from me, let
alone get any help in finding a job with my new MBA.

They also touted that their graduates made substantially higher salaries than averages (a statistic
they heavily marketed after I had already graduated, but they were already doing this while I was
enrolled there). After graduation, I remained in my same job, with the same salary, then was laid
off not too long after I received my MBA. I spent several years without gainful employment,
received unemployment benefits and COBRA, and had to put my loans in deferment which
amassed substantial interest. I never heard from career services, applied to countless jobs hoping
an MBA would help me find one, and ended up taking a job in a computer shop to get back on
my feet.

I now owe them somewhere in the family of $50,000+, never found a job in Business
Management, and work in the IT field. My loan amount with them is an estimate, due to all my
loans being combined with my undergraduate degree from Widener University. I'm sure it can be
determined which loans originated where in your system. Based on all of this, I would like to
assert borrower defense against my loans with them, not pay them any more money, and re‐claim
the money I have paid in loans that have gone into their pockets. I do not wish my loans to get
into deferment during this as I'm already battling extremely high interest and have loans
that are not associated with Devry.


Name ‐ Daniel Patrick Deegan
DOB ‐
Last 4 of SS# ‐
Home Address ‐
Phone Number ‐
Email ‐
Name of School/Location ‐ Devry University/Keller Graduate School of Management ‐ 1800 John
F Kennedy Blvd #200, Philadelphia, PA 19103
Program of Study ‐ Business Management
Degree Obtained/Date ‐ MBA ‐ October, 2008




‐‐
Dan Deegan




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Dan Deegan




                                              5
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            Exhibit B
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From: Borrower Defense <borrowerdefense@ed.gov>
Date: May 7, 2020 at 1:06:49 PM EDT

Subject: Borrower defense discharge ineligibility information for you [




                                          2
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               5/7/2020



               Borrower Defense Application #:



               Dear Daniel Deegan:



               The U.S. Department of Education (ED) has completed its
               review of your application under the applicable Borrower
               Defense to Repayment regulations for discharge of your
               William D. Ford Federal Direct Loans (Direct Loans) made
               in connection with your or your child’s enrollment at Keller
               Graduate School of Management. “You” as used here
               should be read to include your child if you are a Direct
               PLUS Loan borrower who requested a discharge for loans
               taken out to pay for a child’s enrollment at Keller Graduate
               School of Management. ED has determined that your
               application is ineligible for relief based on review of the
               facts of your claim and the regulatory criteria for relief; this
               decision means that your Direct Loans will not be
               discharged. ED explains the reasons below.



               Applicable Law



               For Direct Loans first disbursed prior to July 1, 2017, a
               borrower may be eligible for a discharge (forgiveness) of
               part or all of one or more Direct Loans if the borrower’s
               school engaged in acts or omissions that would give rise to
               a cause of action against the school under applicable state
               law. See § 455(h) of the Higher Education Act of 1965, as
               amended, 20 U.S.C. § 1087e(h), and 34 C.F.R. §
               685.206(c) and 685.222 (the Borrower Defense
               regulations). ED recognizes a borrower’s defense to
               repayment of a Direct Loan only if the cause of action

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                directly relates to the Direct Loan or to the school’s
                provision of educational services for which the Direct Loan
                was provided. 34 C.F.R. §§685.206(c)(1), 685.222(a)(5);
                U.S. Department of Education, Notice of Interpretation, 60
                Fed. Reg. 37,769 (Jul. 21, 1995).



                Why was my application determined to be ineligible?



                ED reviewed your borrower defense claims based on any
                evidence submitted by you in support of your application,
                your loan data from National Student Loan Data System
                (NSLDS®), and evidence provided by other borrowers.



                            Allegation 1: Employment Prospects



                You allege that Keller Graduate School of
                Management engaged in misconduct related to
                Employment Prospects. This allegation fails for the
                following reason(s): Insufficient Evidence.



                Your claim for relief on this basis therefore is denied.



                                Allegation 2: Career Services



                You allege that Keller Graduate School of
                Management engaged in misconduct related to Career
                Services. This allegation fails for the following
                reason(s): Insufficient Evidence.



                Your claim for relief on this basis therefore is denied.




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                What evidence was considered in determining my
                application’s ineligibility?



                We reviewed evidence provided by you and other
                borrowers who attended your school. Additionally, we
                considered evidence gathered from the following sources:



                     Evidence obtained by the Department in conjunction
                     with its regular oversight activities.



                What if I do not agree with this decision?



                If you disagree with this decision, you may ask ED to
                reconsider your application. To submit a request for
                reconsideration, please send an email with the subject line
                “Request for
                Reconsideration                                       to
                BorrowerDefense@ed.gov or mail your request to U.S.
                Department of Education, P.O. Box 1854, Monticello, KY
                42633. In your Request for Reconsideration, please
                provide the following information:



                   1. Which allegation(s) you believe that ED incorrectly
                      decided;

                   2. Why you believe that ED incorrectly decided your
                      borrower defense to repayment application; and

                   3. Identify and provide any evidence that demonstrates
                      why ED should approve your borrower defense to
                      repayment claim under the applicable law set forth
                      above.

                ED will not accept any Request for Reconsideration that
                includes new allegations. If you wish to assert allegations
                that were not included in your application, please see the
                following section. Additionally, your loans will not be placed
                into forbearance unless your request for reconsideration is
                accepted and your case is reopened. Failure to begin or
                resume repayment will result in collection activity, including

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                administrative wage garnishment, offset of state and
                federal payments you may be owed, and litigation. For
                more information about the reconsideration process, please
                contact our borrower defense hotline at 1-855-279-6207
                from 8 a.m. to 8 p.m. Eastern time (ET) on Monday through
                Friday.



                Can I apply for borrower defense if I have additional
                claims?



                If you wish to file a new application regarding acts or
                omissions by the school other than those described in
                borrower defense application [Case Number], please
                submit an application at StudentAid.gov/borrower-defense.
                In the new application, you should explain in the relevant
                section(s) the basis for any new borrower defense claim(s)
                and submit all supporting evidence.



                What should I do now?



                Because your borrower defense to repayment application
                was found to be ineligible, you are responsible for
                repayment of your loans. ED will notify your servicer(s) of
                the decision on your borrower defense to repayment
                application within the next 15 calendar days, and your
                servicer will contact you within the next 30 to 60 calendar
                days to inform you of your loan balance. Further, if any loan
                balance remains, the loans will return to their status prior to
                the submission of your application. If your loans were in
                forbearance as a result of your borrower defense to
                repayment application, the servicer will remove those loans
                from forbearance. *See COVID-19 Note below.



                If your loans are in default and are currently in stopped
                collections, your loans will be removed from stopped
                collections. Failure to begin or resume repayment could
                result in collection activity such as administrative wage
                garnishment, offset of state and federal payments that you
                may be owed, and litigation. *See COVID-19 Note below.


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                While normally interest would not be waived for
                unsuccessful borrower defense applications, given the
                extended period of time it took ED to complete the review
                of this application, the Secretary is waiving any interest that
                accrued on your Direct Loans from the date of the filing of
                your borrower defense application to the date of this
                notification. Your servicer will provide additional information
                in the coming months regarding the specific amount of
                interest adjusted. *See COVID-19 Note below.



                *COVID-19 Note: On March 27, 2020, the president signed
                the CARES Act, which, among other things, provides broad
                relief in response to the coronavirus disease 2019 (COVID-
                19) for federal student loan borrowers whose loans are
                owned by ED. For the period March 13, 2020, through
                September 30, 2020, the interest rate on the loans will be
                0% and no payments will be required. During this same
                period for defaulted borrowers, all proactive collection
                activities, wage garnishments, and Treasury offsets will be
                stopped. Your federal loan servicer will answer any
                questions you have about your specific situation. In
                addition, Federal Student Aid’s COVID-19 information page
                for students, borrowers, and parents is located at
                StudentAid.gov/coronavirus. Please visit the page regularly
                for updates.



                What if I have another pending borrower defense
                application?



                If you have additional pending borrower defense to
                repayment applications, this information applies to you:

                      If your loans associated with an additional borrower
                       defense to repayment application that is still pending
                       are in forbearance or another status that does not
                       require you to make payments, your loans will
                       remain in forbearance or that other status. Similarly,
                       if your loans associated with that borrower defense
                       application are in default and you are currently in
                       stopped collections, those loans will remain in
                       stopped collections.


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                             If you are unsure if you have additional pending
                              applications, or if you would like to check on the
                              status of your loans associated with an additional
                              application, contact our borrower defense hotline at
                              1-855-279-6207 from 8 a.m. to 8 p.m. ET on
                              Monday through Friday.

                       ED offers a variety of loan repayment options, including the
                       standard 10-year repayment plan, as well as extended
                       repayment, graduated repayment, and income-driven
                       repayment plans. For more information about student loan
                       repayment options, visit StudentAid.gov/plans. If you have
                       questions about the status of your loans or questions about
                       repayment options, please contact your servicer(s). If you
                       do not know the name of your federal loan servicer, you
                       may go to StudentAid.gov to find your servicer and view
                       your federal loan information.



                       Sincerely,



                       U.S. Department of Education

                       Federal Student Aid




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sole use of the intended recipient and may contain confidential and privileged information.
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